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Jane Fonda

From Wikipedia, the free encyclopedia,

Jane Seymour Fonda (bom December 21, 1937) is an
Academy Award-winning American actress, model, writer,
producer, activist and philanthropist,

Contents
! Biography
2 Acting career
3 Political activism
3.1 Native American movement
3.2 The Black Panthers
3.3 Opposition to the Vietnam War
3,4 "Hanoi Jane"
3.5 Slayings of women in Ciudad Judrez
3.6 Campaign against genital mutilation
3.7 Israeli-Palestinian conflict
3.8 Opposition to Iraq War
4 Later career
5 Film awards and nominations
6 Filmography
7 External links Jane Fonda’

Biography

Fonda was born in New York City, to actor Henry Fonda and socialite Frances Brokaw (née Seymour). She was
named after Lady Jane Seymour, the third wife of King Henry VII.

Jane's mother, Frances, was the second of Henry Fonda's five wives, and was formerly married to millionaire
George Brokaw, the onetime husband of writer Clare Boothe Luce. After voluntarily seeking help at an asylum,
Frances Fonda committed suicide by cutting her throat with a carving knife in ‘October 1950, when Jane was 12
years old. In Fonda's 2005 memoir, the actress wrote that while researching the book, she was granted access to
her mother's psychiatric records and discovered that her mother had been sexually molested as a child, a trauma
that doubtless contributed to her later emotional and mental instabilty.

Jane Fonda has been married three times:

ws Her first husband (1965-73) was French film director Roger Vadim (b. 1928-d.2000) with whom she had a
daughter, Vanessa, named for Vanessa Redgrave, the well-known actor jand activist member of the
Workers’ Revolutionary Party. According to Fonda's 2005 memoir, she participated in sexual threesomes at
Vadim's insistance.

a Her second husband (1973-1990) was author and politician Tom Hayden, by whom she has a son, Troy
Garity. With Hayden, she also raised a foster daughter, Mary Luana Williams, who is an activist born to
members of the Black Panthers.

EXHIBIT

Her third husband (1991-2001) was American cable-television tycoon Ted Tumer. j 24
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http://en.wikipedia.org/wiki/Jane_Fonda 4/27/2005
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She has also had romantic relationships with:

ws Alexander "Sandy" Whitelaw, director; involved 1960
# Donald Sutherland, actor; costarred in Klute; together 1970s
a Barry Matalon, hairdresser; together 1990s

Family Members:

« Brother: Peter Fonda, actor, director, producer

= Daughter: Vanessa Vadim; born j in 1968; father, Roger Vadim; named after Vanessa Redgrave

a Son: Troy Garity, actor; born in 1973; father Tom Hayden; named after a Vietnamese resistance leader and
given paternal grandmother's surname :

s Daughter: Mary Williams, foster child, raised with Tom Hayden

» Niece: Bridget Fonda, actor; born in 1964; daughter of Peter Fonda

Her nickname as a youth—Lady Jane, a moniker she reportedly disliked. She traveled to Russia in 1964 and was
impressed by the people, who welcomed her warmly as Henry's daughter. In the mid-1960s she bought a farm
outside of Paris, she renovated it and did the garden herself. She visited Warhpl's Factory in 1966. About her 1971
Oscar triumph, her father Henry said: "How in hell would you like to have been in this business as long as I and
have one of your kids win an Oscar before you do?" Jane was on the cover of Life magazine, March 29, 1968.
Early in her career she was extremely critical of her father, but in 1980 she bought the play "On Golden Pond" so
that she could get Henry to star in it, hopefully to win the Oscar that had eluded him throughout his career, He
won, and when she accepted the Oscar for him she said it was "the happiest night of my life." Director Roger
Vadim once said about her: "Living with Jane was difficult in the beginning... she had so many—how do you
say?—bachelor habits. Too much organization. Time is her enemy. She cannat relax. Always there is something
to do." Vadim also said about her: "There is also in Jane a basic wish to carry things to the limit."

Tn 2005, Fonda published her memoirs, “My Life, So Far." In it, she candidly examines her controversial life, as
well as the internalized misogyny that she says contributed to her lifelong habit of quickly conforming to the
habits, desires, and ambitions of the men in her life at the expense of her own character.

Her most recent film is "Monster-in-Law" (2005), a comedy costarring Jennifer Lopez.
Fonda, who lives in Atlanta, Georgia, describes herself as a liberal, "feminist Christian."

In April of 2005, a man named Michael A. Smith from Kansas City, Missouri took advantage of one of Jane
Fonda's book signings by spitting tobacco juice in her face. Minutes later, Michael Smith was caught by police
and charged with disorderly conduct. He will go to court on May 27, 2005, Hé said the reason he spat in Fonda's
face was because Fonda was a "traitor", and said his actions were "absolutely worth it". Smith disagreed with her
active support of North Vietnam and betrayal of American POWs during the Vietnam War. Afier being spat in the
face, Fonda kept signing books without getting up.

Acting career

While growing up she had no acting ambitions, but she got interested in 1954 when she performed with her dad in
a charity performance of The Country Girl, at the Omaha Community Theatre. During that show, she had to cry,
and in order to coax the tears she reportedly had a stagehand smack her before she walked on. She attended
Vassar College in New York, was introduced to Lee Strasberg by her father in 1958, and joined his Actors Studio.
She would later receive an Honorary Degree from Emerson College in May, 2000.

http://en.wikipedia.org/wiki/Jane_Fonda 4/27/2005
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Her stage work in the late 1950s led to her impressive film career that only gained momentum after the 1960s.
She averaged almost two movies a year throughout the decade, starting in 1960 with Tall Story, in which Jane
recreated her Broadway role of a cheery college student opposite gangly Tony Perkins. Period of Adjustment, in
which she went blonde, and Walk on the Wild Side, with Jane as the young temptress Kitty Twist, came in 1962
along with a Golden Globe as Most Promising Newcomer, with Sunday in New York following a year later.
Critics were quickly impressed with her: In 1962, Newsday called her "the loyeliest and most gifted of ali our new
young actresses.” Jane's big-screen breakthrough, of course, was Cat Ballou (965), in which she played the sweet
title role that had been offered to Ann-Margret but rejected. The rootin -tootin! Western got five Oscar
nominations, was one of the year's top-ten moneymakers, and made her a star at age 28. After Any Wednesday in
1966 and Barefoot in the Park with Robert Redford in 1967 came the dazzling Barbarella in 1968, which sent her
sexpot image into orbit, By contrast, the grim They Shoot Horses, Don't They? in 1969 showcased her serious
acting talent, bringing her the first of seven Oscar nominations. One more rol¢ for which she was supposedly first
choice, but she didn't take—Rosemary in Rosemary's Baby, the part finally played by Mia Farrow.

She won the Academy Award for Best Actress in 1971 for KJute and in 1978 for Coming Home, and was
nominated five more times.

Political activism

Fonda became involved in political activism during the time of the Vietnam War, Civil Rights Reforms and
significant rebellion against the "Establishment." Her activism and philanthropy in opposition to the Vietnam
War, made her infamous among pro-war and pro-military Americans. .

Native American movement

Ms. Fonda and other celebrities were supporters of the Alcatraz Island occupation in 1969, which was intended to
call attention to American Indian issues.

The Black Panthers

Huey Newton and Black Panthers—A quote from Jane Fonda in 1970: "Revolution is an act of love; we are the
children of revolution, born to be rebels. It runs in our blood." She called the Black Panthers "our revolutionary
vanguard. We must support them with love, money, propaganda and risk."

Opposition to the Vietnam War

In April 1970, Fred Gardner, Fonda and Donald Sutherland formed *FTA* ("Free The Army," a play on the troop
expression "Fuck The Army"), an antiwar road show designed as an answer to Bob Hope's USO tour. The tour,
referred to as "political vaudeville" by Fonda, visited military towns along the West Coast, with the goal of
establishing a dialog with soldiers to get their thoughts on their upcoming deployments (which were later made
into a movie). .

Also in 1970, Fonda spoke out against the war at a rally organized by Vietnam:Veterans Against the War, in
Valley Forge, Pennsylvania. She offered to help raise funds for VVAW, and was bestowed the title of Honorary
National Coordinator for her efforts. Beginning November 3, she toured college campuses and raised funds for
the organization. As noted by the New York Times, Fonda was a "major patron" of the VVAW.

Tn March 1971, Fonda traveled to Paris (some claim alone, some claim with an, unnamed VVAW representative)
to meet with NLF foreign minister Madam Nguyen Thi Binh. According to a transcript in which she was

http://en.wikipedia.org/wiki/Jane Fonda 4/27/2005
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translated to Vietnamese and back to English, she told Binh at one point "Mamy of us have seen evidence proving
the Nixon administration has escalated the war causing death and destruction perhaps as serious as the, bombing
of Hiroshima." Afterwards, she travelled to London. A speech that she gave in London was criticized for her
discussion of the US use of torture in Vietnam. Her financial support to VVAW at this time was apparently not
significant, as within a month VWVAW was broke and one of its prominent leaders, John Kerry, raised the needed
funds.

Sixteen months later, Fonda went on her well-known trip to Hanoi.

"Hanoi Jane"

Although the war was largely protested at home by this time, and many Americans
were against the war, her actions in 1972 were widely perceived as over the tap.
The anti-war movement of the time was not characterized by a single motivation:
some, such as Quakers and other traditionally pacifist groups were opposed to war
in any circumstances; some felt that the war was not an American responsibility or
concern, arguing especially that it was a civil war in which the US was choosing
sides; some, such as young men of draft age, their parents and friends, didn't want
their lives risked in an unpopular war; but some expressed a partisanship for the
opposing side in the war, including Jane Fonda—and this made her a polarizing
figure.

She became the target of hatred from many Americans because of her visit to
Hanoi, where she advocated opposition to the war. Her detractors labeled her |
Hanoi Jane, comparing her to war propagandists Tokyo Rose and Hanoi Hannah.
She has often been associated with contributing to a perceived anti-soldier sentiment among Vietnam War
protesters, such as spitting on soldiers, Because of her actions, John Wayne cut off all contact with her, even
though he was a close friend of her father's.

: Jane Fonda in Hanoi, 1972

When Jane Fonda was honored by Barbara Walters in 1999 as one of the 100 great women of the century,
sentiments regarding Fonda's actions in Vietnam were rekindled. Rumors that Fonda handed over information
about U.S. soldiers to National Liberation Front (NLF) insurgents (better known in the U.S, as the "Viet Cong")
are probably untrue, as are reports that a pilot spat at Fonda and was beaten for it and that one POW was beaten to
death for refusing to meet with her, The latter story, though, may be an exaggeration of the true account of
Michael Benge, a civilian advisor captured by the NLF in 1968 and held as a POW for 5 years. He wrote "When
Jane Fonda was in Hanoi, I was asked by the camp communist political officer if I would be willing to meet with
her. I said yes, for I would like to tell her about the real treatment we POWs were receiving, which was far
different from the treatment purported by the North Vietnamese, and parroted by Jane Fonda, as ‘humane and
lenient.’ Because of this, I spent three days on a rocky floor on my knees with outstretched arms with a piece of
steel re-bar placed on my hands, and beaten with a bamboo cane every time my arms

dipped." [1] (hitp:/Avww.snopes.com/military/fonda. htm) [2]

(http://www. pownetwork.org/fonda/fonda_benge_letter.htm)

Fonda posed for a picture at an anti-aircraft battery and participated in several radio broadcasts. She also visited
American prisoners of war who assured her that they had neither been tortured|nor brainwashed. Fonda believed
these claims and relayed them to the American public. When cases of torture began to emerge among POWs
returning to the United States, Fonda called them liars. She also added, concerning the POWs she met, "These
were not men who had been tortured. These were not men who had been starvéd. These were not men who had
been brainwashed." Concerning torture in general, Fonda told the New York Times in 1973, "I'm quite sure that
there were incidents of torture...but the pilots who were saying it was the policy of the Vietnamese and that it was
systematic, I believe that's a lie." Her stance has some backing, as former vice presidential candidate and POW

http://en.wikipedia.org/wiki/Jane_Fonda 4/27/2005

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James Stockdale wrote that no more than 10% of US pilots in captivity received more than 90% of the torture,
usually for acts of resistance. Additionally, John Hubbel's research into the conflict indicates that the majority (but
certainly not all) of the torture occurred before 1969 (Fonda's visit was in 1972).

Fonda delivered home letters from many American POWs in Vietnam. She also is often credited with publicly
exposing the strategy of bombing the dikes in Vietnam, for which she was at the time called a liar by then-UN
ambassador George H. W. Bush. In 1988, Fonda admitted she regrets some of her actions in North Vietnam. She
has also stated:

"I will go to my grave regretting the photograph of me in an anti-aircraft gun, which looks like I was trying to
shoot at American planes. It hurt so many soldiers. It galvanized such hostility. It was the most horrible thing I
could possibly have done. It was just thoughtless.” :

In 2004, her name was used as a disparaging epithet against Kerry, the former VVAW leader, who was then the
Democratic Party presidential candidate. Republican National Committee Chairman Ed Gillespie called Kerry a
“Jane Fonda Democrat". In addition, Kerry's opponents circulated a photograph showing Fonda and Kerry in the
same large crowd at a 1970 anti-war rally, although they were sitting several rows apart. [3]

(http://www.snopes. com/photos/politics/kerry.asp) Some also circulated a faked composite photograph to give
the false impression that the two had shared a speaker's platform. [4]
(Attp:/Avww.snopes.com/photos/politics/kerry2.asp)

Fonda funded and organized the Indochina Peace Campaign. It continued to mobilize antiwar activists across the
nation after the 1973 Paris Peace Agreement when most other antiwar organizations closed down.

In a 60 Minutes interview on March 31, 2005, Jane Fonda says she has no regrets about her trip to North Vietnam
in 1972, with one exception: her visit to a North Vietnamese anti-aircraft gun site. She says the incident that
brought her the nickname "Hanoi Jane," was a "betrayal" of American forces and of the "country that gave me
privilege." Fonda was quoted as saying "The image of Jane Fonda, ‘Barbarella,' Henry Fonda's daughter ... sitting
on an enemy aircraft gun was a betrayal ... the largest lapse of judgment that ican even imagine,"

However, Fonda does not regret visiting the enemy capital, Hanoi, or being photographed with American
prisoners of war there, despite the propaganda value it afforded the enemy. "There are hundreds of American
delegations that had met with the POWs," says Fonda. "Both sides were using:the POWs for propaganda....It's not
something that I will apologize for." Nor is she sorry for the broadcasts she made on Radio Hanoi, something she
asked the North Vietnamese to do. "Our government was lying to us and men were dying because of it, and I felt I
had to do anything that I could to expose the lies and help end the war,” she tells 60 Minutes.

Slayings of women in Ciudad Juarez

Fonda led the march through Ciudad Judrez, urging Mexico to provide sufficient resources to newly appointed
officials helping investigate the slayings of hundreds of women in the rough border city. (February 16, 2004)

Campaign against genital mutilation

V-Day, a movement to stop violence against women, sparked by the off-Broadway hit The Vagina Monologues,
held its first summit Friday, bringing together Fonda, Afghan women and a Kenyan campaigning to save girls
from genital mutilation. (September 21, 2002)

Israeli-Palestinian conflict

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Fonda continues to participate in peace activism, in particular regarding the Igraeli-Palestinian conflict. Fonda has
been criticized by right wing Israelis during a trip to Jerusalem to promote world peace— the actress and activist
was heckled, as she arrived for a meeting with leading Israeli feminists, for her support of the Palestinians.
(December 21, 2002)

Opposition to Iraq War

Fonda says that the military campaign in Iraq will turn people all over the world against America. She has also
asserted that a global hatred of America will result in more terrorist attacks i in, ; the aftermath of the war. (April 11,
2003)

Later career

In the early 1980s she reinvented herself as a health guru, setting up the Jane Fonda Workout studio in Beverly
Hills and creating best-selling books and tapes (her "Jane Fonda's Workout" is one of the best-selling videos of all
time). Leading the aerobics craze, she was particularly noted in this regard for popularising the phrase "go for the
burn", for which she was criticised. While retired from acting in the late 1980s (she announced that she would
never act again in April 1991), her latest endeavors have been philanthropic. She works to prevent adolescent
pregnancy, and in July of 2001 this item ran in the L.A. Times:

"Atlanta's Emory University unveiled the Jane Fonda Center Thursday, using a $2-million donation from the
actress and former fitness guru to study adolescent reproductive health research, training and program
development, Fonda's gift will include an endowment to create a research position specializing in teen sexuality
and reproductive health. Earlier this year, Fonda gave $12.5 million to Harvard's Graduate School of Education
for a study of gender in education."

In early 2004, she announced she'd return to acting after a fourteen-year absence. Her upcoming movie, Monster-
in-Law, is a comedy in which she plays Jennifer Lopez's prospective mother-in-law.

Film awards and nominations

1961: Golden Globe; Most Promising Newcomer - Female

1970; Academy Award Nomination; Best Actress, They Shoot Horses, Don't They?
1971; Academy Award; Best Actress, K/ute

1971; Golden Globe; Best Actress in a Motion Picture (Drama), Klute .

1972: Golden Globe; World Film Favorite - Female

1977; Golden Giobe; Best Actress in a Motion Picture (Drama), Julia

1978: Academy Award Nomination; Best Actress, Julia

1978: Golden Globe; World Film Favorite - Female

1978: Golden Globe; Best Actress in a Motion Picture (Drama), Coming Home
1979: Academy Award; Best Actress, Coming Home

1980: Academy Award Nomination; Best Actress, The China Syndrome

1982: Academy Award Nomination; Best Supporting Actress, On Golden Pond
1983: Emmy; Outstanding Lead Actress in a Limited Series or a Special, The Dollmaker
1987: Academy Award Nomination; Best Actress, The Morning After

Filmography

« Tall Story (1960)

http://en.wikipedia.org/wiki/Jane_ Fonda 4/27/2005
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Walk on the Wild Side (1962)

The Chapman Report (1962)

Period of Adjustment (1962)

Sunday in New York (1963)

In the Cool of the Day (1963)
Filmmaking on the Riviera (1964) (short subject)
Circle of Love (USA release of La Ronde) (1964)
La Ronde (1964)

Les Félins (1964)

Joy House (1964)

Cat Ballou (1965)

The Chase (1966)

La Curée (1966)

The Game Is Over (1966)

Any Wednesday (1966)

Hurry Sundown (film) (1967)

Barefoot in the Park (1967)

Spirits of the Dead (1968)

Barbarella (1968)

The Moviemakers (1969) (short subject)
They Shoot Horses, Don't They? (1969)

Klute in New York. A Background for Suspense (1971) (short subject) |

Klute (1971)

All's Well (1972)

Tout va bien

FTA, (1972) (documentary)

Letter to Jane (1972) (documentary) (narrator)
Final Crash (1973)

Steelyard Blues (1973)

A Doll's House (1973)

Introduction to the Enemy (1974) (documentary)
The Blue Bird (1976)

Sinyaya Ptitsa (1976)

Julia (1977)

AFL Life Achievement Awards - Bette Davis (1977)
Fun with Dick and Jane (1977)

Coming Home (1978)

Comes a Horseman (1978)

AFI. Life Achievement Awards - Henry Fonda (1978)
California Suite (1978)

Cultural Celebrities (1979) (documentary)
The China Syndrome (1979)

The Electric Horseman (1979)

No Nukes (1980) (documentary)

9 to 5 (1980)

The Ten Thousand Day War (1980)

American Mythologies (documentary)

Want to Be Beautiful (1981) (documentary)
On Golden Pond (1981)

Rollover (1981)

Lily: Sold Out! (TV) (1981)

Montgomery Clift (1983) (documentary)

The Dollmaker (1984)

Agnes of God (1985)

The Morning After (1986)

Retour (1987) (short subject)

http://en.wikipedia.org/wiki/Jane_ Fonda

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Leonard Part 6 (1987) (cameo)

Old Gringo (1989)

Stanley & Iris (1990)

Hollywood Retrospectives - Fonda on Fonda

A Century of Cinema (1994) (documentary)

A Century of Women - Complete Series (1994)
Doily Parton in the Movies (1996)

Searching for Debra Winger (2002) (documentary)
Until the Violence Stops (2003) (documentary)
Tell Them Who You Are (2004) (documentary)
Monster-in-Law (2005) (currently in post-production)

External links

u Jane Fonda (Attp://www.imdb.com/name/nm0000404/) at the Internet Movie Database

w Jane Fonda's campaign

contributions (Atip./“www.newsmeat.com/celebrity_political_donations/Jane_Fonda.php)
hitp:/Awww.snopes.com/military/fonda.htm

http://urbanlegends.about.com/library/weekly/aal 10399.htm?once=true&
http://Awww.arabia,com/newsfeed/article/english/0,14183,354458,00.htinI

“Jane in Jerusalem" (http./Avwwjewishworldreview.com/]202/jane_jeru.html), commentary published in
Jewish World Review, Dec. 23, 2002, which describes how three Israeli "Women in Green" heckled Jane
Fonda during her visit in Jerusalem.

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Categories: 1937 births | American actors | Best Actress Oscar | Best Actress Qscar Nominee | Best Supporting
Actress Oscar Nominee | Cinema actors | Exercise instructors | Vietnam War people

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